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                    UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

JOHN DOE,                                      :
                                               :   Case No. 18-cv-11776
                             Plaintiff,        :
                                               :   Hon. Arthur J. Tarnow
           v.                                  :   Mag. Elizabeth A. Stafford
                                               :
UNIVERSITY OF MICHIGAN, et al.,                :
                                               :   DEFENDANTS’
                             Defendants.       :   NOTICE OF APPEAL
                                               :

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                    DEFENDANTS’ NOTICE OF APPEAL

      Notice is hereby given that the defendants in the above-captioned case,

University of Michigan, Board of Regents of the University of Michigan, Pamela

Heatlie, Robert Sellers, Martin Philbert, Erik Wessel, Laura Blake Jones, E.

Royster Harper, Suzanne McFadden, and Paul Robinson, hereby appeal to the

United States Court of Appeals for the Sixth Circuit from the Order (ECF No. 30)

entered in this action on July 6, 2018, granting in part and denying in part

plaintiff’s motion for temporary restraining order and preliminary injunction.


                                      Respectfully submitted,

July 25, 2018                         /s/Joshua W. B. Richards
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                            CERTIFICATE OF SERVICE

      I hereby certify that on July 25, 2018, I electronically filed the foregoing

Notice of Appeal with the Clerk of the Court using the ECF system, which will

send notification of such filing and service to all parties through their counsel of

record (listed below) and to the Clerk, U.S. Court of Appeals for the Sixth Circuit:


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